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                            United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION




UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §           CASE NO. 5:15CR14(1)
                                                 §
GABRIEL GONZALEZ, JR.                            §


                                  ORDER ADOPTING
                          THE REPORT AND RECOMMENDATION
                       OF THE UNITED STATES MAGISTRATE JUDGE



        The above-styled matter was referred to the Honorable Caroline M. Craven, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Craven conducted a hearing in the form and manner prescribed by Federal Rule

of Criminal Procedure 11 and issued her Report and Recommendation (document #25) on August

5, 2015.        Judge Craven recommended that the Court accept Defendant’s guilty plea and

conditionally approve the plea agreement. She further recommended that the Court finally adjudge

Defendant as guilty of lesser included offense of Count 1 of the Indictment filed against Defendant

in this cause.

        The parties have waived objections to the magistrate judge’s findings. The Court is of the

opinion that the Report and Recommendation should be accepted. It is accordingly ORDERED

that the Report and Recommendation of the United States Magistrate Judge (document #25) is

ADOPTED. It is further

        ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

the plea agreement is approved by the Court, conditioned upon a review of the presentence report.

It is finally
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        ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

GUILTY of a lesser included offense of Count 1 of the Indictment in the above-numbered cause and

enters a JUDGMENT OF GUILTY against the Defendant as to a lesser included offense of Count

1 of the Indictment.

        SIGNED this 12th day of August, 2015.




                                                         ____________________________________
                                                         ROBERT W. SCHROEDER III
                                                         UNITED STATES DISTRICT JUDGE




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